Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 1 of 61




                 EXHIBIT 5
              Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 2 of 61




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16
    TELECOMMUNICATIONS AMERICA, LLC

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
18                                   UNITED STATES DISTRICT COURT


19                      NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

 APPLE INC., a California corporation,
20                                                  CASE NO. 12-CV-00630-LHK


21                      Plaintiff,                  EXPERT DECLARATION OF JAIME
                                                    CARBONELL, Ph.D., CONCERNING

22                vs.                               NON-INFRINGEMENT AND
                                                    INVALIDITY OF U.S. PATENT NO.
 SAMSUNG ELECTRONICS CO., LTD., a
23                                                  8.086,604
    Korean business entity; SAMSUNG
 ELECTRONICS AMERICA, INC., a New
24                                                  Date: June 7, 2012
    York corporation; SAMSUNG                       Time: 1:30 p.m.
 TELECOMMUNICATIONS AMERICA,
25                                                  Place: Courtroom 8, 4th Floor
    LLC, a Delaware limited liability company,      Judge: Hon. Lucy H. Koh

26
                  Defendants.                       FILED UNDER SEAL

27                                                  HIGHLY CONFIDENTIAL –
                                                    ATTORNEYS‟ EYES ONLY

28                                                                     Case No. 12-CV-00630-LHK
                                                   EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                           CONCERNING U.S. PATENT NO. 8,086,604
      PLAPL
        Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 3 of 61




 1 I.       INTRODUCTION

 2          1.       My name is Jaime G. Carbonell.      I have been retained to act as an expert for
 3
     defendants Samsung Electronics Co., Ltd., Samsung Electronics America, inc. and Samsung
 4
     Telecommunications America, LLC. (collectively ―Samsung‖).
 5
            2.       I have been asked to provide an expert opinion and analysis concerning United
 6
     States Patent No. 8,086,604 (―the ‗604 patent‖).     My analysis includes how a person of ordinary
 7

 8 skill in the art in 2000 would have understood claims 6 and 19 of the ‗604 patent, whether the

 9 accused Samsung Galaxy Nexus product (―SGN‖) infringes claim 6 or 19 of the ‗604 patent, and

10 whether claims 6 and 19 of the ‗604 patent are valid.      In reaching the opinions set forth in this
11
     declaration, I have considered the Expert Declaration of Dr. Nathaniel Polish Concerning U.S.
12
     Patent No. 8.086,604 (the ―Polish Declaration‖) and the materials identified in Exhibit ZZ to this
13
     declaration.
14

15          3.       I graduated from the Massachusetts Institute of Technology in 1975 with a degree

16 in Physics and Mathematics.       I went on to Yale University where I received a Masters Degree in

17 Computer Science in 1976 and a Ph.D. in Computer Science in 1979.

18          4.       In 1979, I became an Assistant Professor of Computer Science at Carnegie Mellon
19
     University.    Since 1995, I have been the Allen Newell Professor of Computer Science at
20
     Carnegie Mellon University. Since 1996, I have also been the Director, Language Technologies
21
     Institute, Carnegie Mellon University.
22

23          5.       I have published some 300 technical and scientific articles, primarily in peer-

24 reviewed journals and conferences in multiple computational fields including: computer science,

25 computational linguistics, machine learning, information retrieval, computational biology,

26
     machine translation, mathematical and statistical foundations, and integrated systems applications.
27
     These reflect my active lines of research over the past 35 years.
28
                                                        -1-                  Case No. 12-CV-00630-LHK
                                                         EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                  CONCERNING U.S. PATENT NO. 8,086,604
       Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 4 of 61




 1          6.      My research includes computational methods for analyzing text in order to organize

 2 it, retrieve it, summarize it, index it, parse it, and translate it. One of my shorter papers describing

 3
     my invention, Maximum Marginal Reference for retrieval and summarization, is among the most
 4
     highly cited in the Association for Computing Machinery‘s Special Interest Group in Information
 5
     Retrieval (ACM-SIGIR:      The premier academic conference for search engines and related
 6
     research).   I have researched mathematical, algorithmic and heuristic approaches to analyzing
 7

 8 text, ranging from the statistical (machine learning approaches over textual corpus), to the hand-

 9 built linguistic/heuristic methods.

10          7.      A detailed description of my professional qualifications, including publications and
11
     professional, is contained in the CV attached as Exhibit A.
12
     II.    THE „604 PATENT AND ITS FILE HISTORY
13
            8.      The application for the ‗604 patent, application No. 11/000,413, was a continuation
14

15 of application No. 09/478,009, filed on January 5, 2000.

16          9.      The ‗604 patent generally describes methods and systems for searching for

17 information using different heuristic algorithms.     A copy of the ‗604 patent is attached as Exhibit
18 BB.
19
            10.     I understand that Apple has asserted only apparatus claims 6 and 19 in its request
20
     for a preliminary injunction.   I will focus on those two claims in this declaration.
21
            11.     Independent claim 6 of the ‗604 patent claims:
22

23                  An apparatus for locating information in a network, comprising:

24                  an interface module configured to receive an inputted information
                    descriptor from a user-input device;
25
                    a plurality of heuristic modules configured to search for information
26                  that corresponds to the received information descriptor, wherein:

27                  each heuristic module corresponds to a respective area of search and
                    employs a different, predetermined heuristic algorithm
28                  corresponding to said respective area, and
                                                       -2-                  Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
          Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 5 of 61




 1
                    the search areas include storage media accessible by the apparatus;
 2
                    and a display module configured to display one or more candidate
 3                  items of information located by the plurality of heuristic modules on
                    a display device.
 4
     ‗604 Patent, Col. 8, lines 26-41.
 5
             12.    Dependent claim 19 of the ‗604 patent claims
 6

 7                  The apparatus of claim 6, wherein the interface module is
                    configured to receive portions of the information descriptor as the
 8                  portions are being inputted, and

 9                  wherein the heuristic modules are configured to search for
                    information that corresponds to the portions of the information
10                  descriptor as the portions are being received.
11
     ‗604 Patent, Col. 10, lines 17-23.
12
             13.    During prosecution of the ‗604 patent, there were five sets of amendments to claim
13
     6.    See October 23, 2007 Amendment; April 23, 2008 Amendment; December 11, 2008
14

15 Amendment; April 27, 2009 Amendment and September 13, 2010 Amendment.                  Exhibit EE.

16           14.    Also during prosecution, Applicants argued that certain prior art, including United

17 States Patent No. 7,020,670 to Andreoli (―Andreoli‖) did not, in applicants‘ opinion, anticipate the

18
     purported invention.   For example, in response to the Office Action dated July 23, 2007 rejecting
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     all then-pending claims, applicants argued:
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                                                     -3-                  Case No. 12-CV-00630-LHK
                                                      EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                               CONCERNING U.S. PATENT NO. 8,086,604
       Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 6 of 61




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21 October 23, 2007 Amendment and Remarks, Exhibit EE, pages 3-4.

22             15.   In response to an Office Action dated January 25, 2008, rejecting all then-pending
23 claims, applicants again tried to distinguish Andreoli. Applicants again emphasized the use of

24
     different heuristic algorithms and argued that the algorithms of Andreoli differed only logically
25
     not heuristically. April 23, 2008 Amendment and Remarks at 7-8. Specifically, applicants
26
     argued:
27

28
                                                     -4-                  Case No. 12-CV-00630-LHK
                                                      EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                               CONCERNING U.S. PATENT NO. 8,086,604
     Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 7 of 61




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                                        -5-                  Case No. 12-CV-00630-LHK
                                         EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                  CONCERNING U.S. PATENT NO. 8,086,604
       Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 8 of 61




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18
     April 23, 2008 Amendment and Remarks at 7-8, Exhibit EE, pages 7-8.
19
            16.     In response to a July 11, 2008 Office Action, again rejecting all then-pending
20
     claims, applicants argued that Andreoli does not disclose ―heuristic modules‖ or ―heuristic
21

22 algorithms‖:

23

24

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                                                     -6-                  Case No. 12-CV-00630-LHK
                                                      EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                               CONCERNING U.S. PATENT NO. 8,086,604
     Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 9 of 61




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                                        -7-                  Case No. 12-CV-00630-LHK
                                         EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                  CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 10 of 61




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15
     December 11, 2008 Amendment and Remarks at 10-11, Exhibit EE, pages 12-13
16
           17.    After another series of rejections and responses (see, e.g., December 26, 2008
17

18 Office Action; April 27, 2009 Amendment and Remarks; July 8, 2009 Office Action; February 5,
19 2010 Appeal Brief; May 12, 2010 Office Action; September 13, 2010 Amendment and Remarks;

20 November 29, 2010 Office Action), the PTO issued a Notice of Allowability on September 2,

21 2011. The examiner set forth the reasons for allowance as follows:

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                                                   -8-                  Case No. 12-CV-00630-LHK
                                                    EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                             CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 11 of 61




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     September 2, 2011 Notice of Allowability, Exhibit DD.
24

25          18.    The ‗604 patent issued on December 27, 2011.

26 III.     THE ACCUSED SAMSUNG GALAXY NEXUS PRODUCT
27

28
                                                  -9-                  Case No. 12-CV-00630-LHK
                                                   EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                            CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 12 of 61




 1          19.      I understand that Apple has accused the Samsung Galaxy Nexus of infringing

 2 claims 6 and 19 of the ‗604 patent.

 3
            20.      I further understand that Apple contends that the Galaxy Nexus runs the Android
 4
     4.0 platform.   Polish Dec. at 20, fn. 1.   I also understand that, to the extent that Dr. Polish
 5
     referred to source code, he relied on the source code found at
 6
     http://source.android.com/source/downloading.html.        Id.
 7

 8 IV.      UNDERSTANDING OF LEGAL STANDARDS

 9          21.      In this section, I describe my understanding of certain legal standards. Samsung‘s
10 attorneys have informed me of these legal standards.        I am not an attorney, and I am relying only
11
     on instructions from Samsung‘s counsel for these standards.
12
            A.       Legal Standards For Infringement
13
            22.      I understand that the determination of whether an accused product infringes a
14

15 patent claim is a two-step process.     First, the language of the claim is construed as it would be

16 understood by one of ordinary skill in the art at the time of the filing of the patent application.

17          23.      After the claim has been properly construed, the claim is compared with the
18 accused product to determine whether all of the features of the claim are present literally or by a
19
     substantial equivalent.   The evaluation of literal infringement is a process of determining whether
20
     the accused product has each and every element specified in the properly construed claim.           If
21
     even one element is not present, literal infringement cannot be found.
22

23          24.      I understand that a patent‘s claims define what is covered by the patent.      In

24 deciding the issue of infringement, it is improper to compare the alleged infringer‘s accused

25 product to any of the patent holder‘s commercial products.         The patent holder‘s current
26
     commercial products are irrelevant in determining infringement: the only relevant inquiry is
27
     whether the properly construed claims read on the accused device(s).
28
                                                       -10-                 Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 13 of 61




 1             25.   I understand that a device that does not literally infringe a claim may nonetheless

 2 infringe under the doctrine of equivalents if each and every limitation in the claim is ―equivalently

 3
     present‖ in the accused device.    The doctrine of equivalents must be applied to individual
 4
     elements of the claim and not to the invention as a whole; thus it must not be applied broadly as to
 5
     effectively eliminate an element of the claim in its entirety.   Each and every element in the claim
 6
     is ―equivalently present‖ in the accused device if only ―insubstantial differences‖ distinguish the
 7

 8 missing claim element from the corresponding aspects of the accused device.         One test used to

 9 determine whether differences between a claim element and the feature of the accused device

10 asserted to practice that element are insubstantial is known as the ―function-way-result test.‖ A

11
     claim element is insubstantially different from an accused feature if they both perform
12
     substantially the same function in substantially the same way to obtain substantially the same
13
     result.
14

15             26.   I understand that equivalency is examined in the context of the prior art, the patent

16 specification, and the prosecution history.     The range of equivalents is limited by the prior art to

17 prohibit the patent owner from extending patent protection beyond the scope of a claim.        Thus,
18 the range of equivalents cannot include what the prior art anticipates and/or renders obvious.
19
               27.   The doctrine of equivalents is also subject to the doctrine of prosecution history
20
     estoppel, which acts to limit infringement by otherwise equivalent products or processes.
21
     Prosecution history estoppel bars the patentee from recapturing subject matter that was
22

23 surrendered by the patentee during prosecution to promote allowance of the claims.

24             B.    Legal Standard for Patentability

25             28.   I understand that in order to receive a patent an inventor must invent or discover a
26
     new and useful process, machine, manufacture, or composition of matter.
27

28
                                                      -11-                  Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 14 of 61




 1          29.     I understand that patent protection may be granted for any new and useful process,

 2 machine, manufacture, or composition of matter, or any new and useful improvement thereof.

 3
            30.     I understand that a claim that recites no more than an abstraction—i.e., software,
 4
     logic or a data structure—does not qualify for patent protection. I am informed that the recitation
 5
     of generic all-purpose computing devices, including a ―processor‖ or a ―computer,‖ may be
 6
     insufficient to render abstract ideas patentable. Instead, I understand computer-enabled methods
 7

 8 must disclose a sufficiently definite algorithm that limits the invention in a meaningful way. I

 9 understand that the transfer of data from one disk to another, or the manipulation of electronically-

10 stored data from one format or value to another format or value, does not qualify as

11
     ―transformation‖ of an article.
12
            C.      Legal Standard for Prior Art
13
            31.     I understand that a patent or other publication must first qualify as prior art before it
14

15 can be used to invalidate a patent claim.

16          32.     I understand that a U.S. or foreign patent qualifies as prior art to an asserted patent

17 claim under Section 102(a) of the Patent Act if the date of issuance of the patent is prior to the

18 invention of the asserted patent claim. I further understand that a printed publication, such as an
19
     article published in a magazine or trade publication or a U.S. or foreign patent application, also
20
     qualifies as prior art under Section 102(a) to an asserted patent claim if the date of publication is
21
     prior to the invention of the asserted patent claim.
22

23          33.     I understand that a U.S. or foreign patent qualifies as prior art to an asserted patent

24 claim under Section 102(b) of the Patent Act if the date of issuance of the patent is more than one

25 year before the filing date of the asserted patent claim. I further understand that a printed

26
     publication, such as an article published in a magazine or trade publication or a U.S. or foreign
27

28
                                                      -12-                  Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 15 of 61




 1 patent application, also qualifies as prior art under Section 102(b) to an asserted patent claim if the

 2 publication occurs more than one year before the filing date of the asserted patent.

 3
            34.     I understand that a U.S. patent qualifies as prior art to an asserted patent claim
 4
     under Section 102(e) of the Patent Act if the application for that patent was filed in the United
 5
     State before the invention of the asserted patent claim.
 6
            35.     I understand that documents and materials that qualify as prior art can be used to
 7

 8 invalidate a patent claim as anticipated or as obvious.

 9          36.     I understand that, for a party to prove invalidity at trial, it must be shown by clear
10 and convincing evidence.

11
            D.      Legal Standard for Anticipation
12
            37.     I understand that, once the claims of a patent have been properly construed, the
13
     second step in determining anticipation of a patent claim requires a comparison of the properly
14

15 construed claim language to the prior art on a limitation-by-limitation basis.

16          38.     I understand that a prior art reference ―anticipates‖ an asserted claim, and thus

17 renders the claim invalid, if all elements of the claim are disclosed in that prior art reference, either

18 explicitly or inherently (i.e., necessarily present or implied).
19
            39.     I understand that, for a party to prove anticipation at trial, it must be shown by clear
20
     and convincing evidence.
21
            E.      Legal Standard for Obviousness
22

23          40.     I have been instructed by counsel on the law regarding obviousness, and understand

24 that even if a patent is not anticipated, it is still invalid if the differences between the claimed

25 subject matter and the prior art are such that the subject matter as a whole would have been

26
     obvious at the time the invention was made to a person of ordinary skill in the pertinent art.
27

28
                                                      -13-                  Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 16 of 61




 1          41.     I understand that a person of ordinary skill in the art provides a reference point

 2 from which the prior art and claimed invention should be viewed. This reference point prevents

 3
     one from using his or her own insight or hindsight in deciding whether a claim is obvious.
 4
            42.     I also understand that an obviousness determination includes the consideration of
 5
     various factors such as (1) the scope and content of the prior art, (2) the differences between the
 6
     prior art and the Asserted Claims, (3) the level of ordinary skill in the pertinent art, and (4) the
 7

 8 existence of secondary considerations such as commercial success, long-felt but unresolved needs,

 9 failure of others.

10          43.     I am informed that secondary indicia of non-obviousness may include (1) a long
11
     felt but unmet need in the prior art that was satisfied by the invention of the patent; (2) commercial
12
     success or lack of commercial success of processes covered by the patent; (3) unexpected results
13
     achieved by the invention; praise of the invention by others skilled in the art; (4) taking of licenses
14

15 under the patent by others; and (5) deliberate copying of the invention.       I also understand that

16 there must be a relationship between any such secondary indicia and the invention. I further

17 understand that contemporaneous and independent invention by others is a secondary

18 consideration supporting an obviousness determination.
19
            44.     I understand that an obviousness evaluation can be based on a combination of
20
     multiple prior art references. I understand that the prior art references themselves may provide a
21
     suggestion, motivation, or reason to combine, but other times the nexus linking two or more prior
22

23 art references is simple common sense. I further understand that obviousness analysis recognizes

24 that market demand, rather than scientific literature, often drives innovation, and that a motivation

25 to combine references may be supplied by the direction of the marketplace.

26
27

28
                                                       -14-                  Case No. 12-CV-00630-LHK
                                                         EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                  CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 17 of 61




 1          45.     I understand that if a technique has been used to improve one device, and a person

 2 of ordinary skill in the art would recognize that it would improve similar devices in the same way,

 3
     using the technique is obvious unless its actual application is beyond his or her skill.
 4
            46.     I also understand that practical and common sense considerations should guide a
 5
     proper obviousness analysis, because familiar items may have obvious uses beyond their primary
 6
     purposes. I further understand that a person of ordinary skill in the art looking to overcome a
 7

 8 problem will often be able to fit the teachings of multiple publications together like pieces of a

 9 puzzle. I understand that obviousness analysis therefore takes into account the inferences and

10 creative steps that a person of ordinary skill in the art would employ under the circumstances.

11
            47.     I understand that a particular combination may be proven obvious merely by
12
     showing that it was obvious to try the combination. For example, when there is a design need or
13
     market pressure to solve a problem and there are a finite number of identified, predictable
14

15 solutions, a person of ordinary skill has good reason to pursue the known options within his or her

16 technical grasp because the result is likely the product not of innovation but of ordinary skill and

17 common sense.

18          48.     I understand that the combination of familiar elements according to known methods
19
     is likely to be obvious when it does no more than yield predictable results. When a work is
20
     available in one field of endeavor, design incentives and other market forces can prompt variations
21
     of it, either in the same field or a different one. If a person of ordinary skill can implement a
22

23 predictable variation, Section 103 of the Patent Act likely bars its patentability.

24          49.     I understand that when a patent simply arranges old elements with each performing

25 the same function it had been known to perform and yields no more than one would expect from

26
     such an arrangement, the combination is obvious. It is further my understanding that a proper
27
     obviousness analysis focuses on what was known or obvious to a person of ordinary skill in the art,
28
                                                      -15-                  Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 18 of 61




 1 not just the patentee. Accordingly, I understand that any need or problem known in the field of

 2 endeavor at the time of invention and addressed by the patent can provide a reason for combining

 3
     the elements in the manner claimed.
 4
            50.     I understand that a claim can be obvious in light of a single reference, without the
 5
     need to combine references, if the elements of the claim that are not found explicitly or inherently
 6
     in the reference can be supplied by the common sense of one of skill in the art.
 7

 8          51.     In sum, my understanding is that prior art teachings are properly combined where a

 9 person of ordinary skill in the art having the understanding and knowledge reflected in the prior art

10 and motivated by the general problem facing the inventor, would have been led to make the

11
     combination of elements recited in the claims. Under this analysis, the prior art references
12
     themselves, or any need or problem known in the field of endeavor at the time of the invention,
13
     can provide a reason for combining the elements of multiple prior art references in the claimed
14

15 manner.

16          52.     I have been informed and understand that the obviousness analysis requires a

17 comparison of the properly construed claim language to the prior art on a limitation-by-limitation

18 basis.
19
            53.     I understand that, for a party to prove obviousness at trial, it must be shown by
20
     clear and convincing evidence.
21
            F.      Indefiniteness
22

23          54.     I understand that a patent specification must conclude with one or more claims

24 particularly pointing out and distinctly claiming the subject matter that the applicant regards as his

25 invention. Claims are indefinite if they do not reasonably apprise those skilled in the relevant art

26
     of the applicant's intended scope of the invention when read in light of the specification.
27

28
                                                     -16-                  Case No. 12-CV-00630-LHK
                                                       EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 19 of 61




 1           55.     I understand a claim is indefinite if it contains words or phrases whose meanings

 2 are unclear when read in light of the specification. Lack of proper antecedent basis results in a

 3
     ―zone of uncertainty‖ as to construction, and renders the claim insolubly ambiguous.
 4
             56.     I further understand that a claim is considered indefinite if it does not reasonably
 5
     apprise those skilled in the art of its scope. I am informed that a claim reciting both an apparatus
 6
     and a method of using that apparatus renders a claim indefinite. I understand that where it is
 7

 8 unclear whether infringement occurs when one creates a system that allows the user to perform a

 9 function, or whether infringement occurs when the user actually uses the system to perform a

10 function, the claim does not apprise a person of ordinary skill in the art of its scope, and it is

11
     invalid as indefinite.
12
             57.     I understand that, for a party to prove indefiniteness at trial, it must be shown by
13
     clear and convincing evidence.
14

15           G.      Written Description and Enablement

16           58.     It is my understanding that a patent must contain a written description of the

17 claimed invention. The written description must clearly convey to those skilled in the art that, as

18 of the filing date sought, the applicant was in possession of the invention claimed.
19
             59.     I have further been advised that a claimed invention must be enabled. A claimed
20
     invention is not enabled and, therefore, unpatentable if the specification does not teach those of
21
     ordinary skill in the art how to make and use the invention as it is claimed, without undue
22

23 experimentation. Undue experimentation is based on the level of skill in the art as of the effective

24 filing date of the patent.

25           60.     I understand that, for a party to prove lack of written description or lack of
26
     enablement at trial, it must be shown by clear and convincing evidence.
27
             H.      Priority Date
28
                                                      -17-                  Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 20 of 61




 1           61.     I understand that the ―critical date‖ for a patent is one year prior to its filing date.

 2 It is my understanding that the critical date is significant because patents, systems, or documents

 3
     that are public prior to the critical date, if they disclose each and every limitation of the claims,
 4
     will invalidate a patent regardless of whether the inventors invented the claim.
 5
             62.     I further understand that the ―priority date‖ of a patent is the date on which it is
 6
     filed. I further understand that the priority date is significant because patents, systems, or
 7

 8 documents that are public less than one year prior to the priority date may invalidate the claims.

 9 My understanding is that, for such prior art references, a patentee may attempt to show that the

10 claimed invention was conceived prior to the publication date of the prior art reference.

11
             63.     I understand that a patent may be valid over prior art that was published or was
12
     publically available before the priority date but after the critical date. To do so, it is my
13
     understanding that a it must be shown that the named inventors conceived of the claimed invention
14

15 before the prior art, and were diligent in reducing the claimed inventions to practice.

16           I.      Claim Construction

17           64.     I have been instructed by counsel on the law regarding claim construction and
18 patent claims, and understand that a patent may include two types of claims, independent claims
19
     and dependent claims. An independent claim stands alone and includes only the limitations it
20
     recites. A dependent claim can depend from an independent claim or another dependent claim. I
21
     understand that a dependent claim includes all the limitations that it recites in addition to all of the
22

23 limitations recited in the claim from which it depends.

24           65.     I have been instructed by counsel that claim construction is a matter of law for the

25 Court to decide. Claim terms should be given their ordinary and customary meaning within the

26
     context of the patent in which the terms are used, i.e., the meaning that the term would have to a
27

28
                                                        -18-                 Case No. 12-CV-00630-LHK
                                                         EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                  CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 21 of 61




 1 person of ordinary skill in the art in question at the time of the invention in light of what the patent

 2 teaches.

 3
            66.     I understand that to determine how a person of ordinary skill would understand a
 4
     claim term, one should look to those sources available that show what a person of skill in the art
 5
     would have understood disputed claim language to mean. Such sources include the words of the
 6
     claims themselves, the remainder of the patent‘s specification, the prosecution history of the patent
 7

 8 (all considered ―intrinsic‖ evidence), and ―extrinsic‖ evidence concerning relevant scientific

 9 principles, the meaning of technical terms, and the state of the art.

10          67.     I understand that, in construing a claim term, one looks primarily to the intrinsic
11
     patent evidence, including the words of the claims themselves, the remainder of the patent
12
     specification, and the prosecution history.
13
            68.     I understand that extrinsic evidence, which is evidence external to the patent and
14

15 the prosecution history, may also be useful in interpreting patent claims when the intrinsic

16 evidence itself is insufficient.

17          69.     I understand that words or terms should be given their ordinary and accepted
18 meaning unless it appears that the inventors were using them to mean something else. In making
19
     this determination, however, of paramount importance are the claims, the patent specification, and
20
     the prosecution history. Additionally, the specification and prosecution history must be consulted
21
     to confirm whether the patentee has acted as its own lexicographer (i.e., provided its own special
22

23 meaning to any disputed terms), or intentionally disclaimed, disavowed, or surrendered any claim

24 scope.

25          70.     I understand that the claims of a patent define the scope of the rights conferred by
26
     the patent. The claims particularly point out and distinctly claim the subject matter which the
27
     patentee regards as his invention. Because the patentee is required to define precisely what he
28
                                                     -19-                  Case No. 12-CV-00630-LHK
                                                       EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 22 of 61




 1 claims his invention to be, it is improper to construe claims in a manner different from the plain

 2 import of the terms used consistent with the specification. Accordingly, a claim construction

 3
     analysis must begin and remain centered on the claim language itself. Additionally, the context in
 4
     which a term is used in the asserted claim can be highly instructive. Likewise, other claims of the
 5
     patent in question, both asserted and unasserted, can inform the meaning of a claim term. For
 6
     example, because claim terms are normally used consistently throughout the patent, the usage of a
 7

 8 term in one claim can often illuminate the meaning of the same term in other claims. Differences

 9 among claims can also be a useful guide in understanding the meaning of particular claim terms.

10          71.     I understand that the claims of a patent define the purported invention. I understand
11
     that the purpose of claim construction is to understand how one skilled in the art would have
12
     understood the claim terms at the time of the purported invention.
13
            72.     I understand that a person of ordinary skill in the art is deemed to read a claim term
14

15 not only in the context of the particular claim in which the disputed term appears, but in the

16 context of the entire patent, including the specification. For this reason, the words of the claim

17 must be interpreted in view of the entire specification. The specification is the primary basis for

18 construing the claims and provides a safeguard such that correct constructions closely align with
19
     the specification. Ultimately, the interpretation to be given a term can only be determined and
20
     confirmed with a full understanding of what the inventors actually invented and intended to
21
     envelop with the claim as set forth in the patent itself.
22

23          73.     I understand that the role of the specification is to describe and enable the invention.

24 In turn, the claims cannot be of broader scope than the invention that is set forth in the

25 specification. Care must be taken lest word-by-word definition, removed from the context of the

26
     patent, leads to an overall result that departs significantly from the patented invention.
27

28
                                                       -20-                  Case No. 12-CV-00630-LHK
                                                         EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                  CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 23 of 61




 1          74.      I understand that claim terms must be construed in a manner consistent with the

 2 context of the intrinsic record. In addition to consulting the specification, one should also consider

 3
     the patent‘s prosecution history, if available. The prosecution file history provides evidence of
 4
     how both the Patent Office and the inventors understood the terms of the patent, particularly in
 5
     light of what was known in the prior art. Further, where the specification describes a claim term
 6
     broadly, arguments and amendments made during prosecution may require a more narrow
 7

 8 interpretation.

 9          75.      I understand that while intrinsic evidence is of primary importance, extrinsic
10 evidence, e.g., all evidence external to the patent and prosecution history, including expert and

11
     inventor testimony, dictionaries, and learned treatises, can also be considered. For example,
12
     technical dictionaries may help one better understand the underlying technology and the way in
13
     which one of skill in the art might use the claim terms. Extrinsic evidence should not be
14

15 considered, however, divorced from the context of the intrinsic evidence. Evidence beyond the

16 patent specification, prosecution history, and other claims in the patent should not be relied upon

17 unless the claim language is ambiguous in light of these intrinsic sources. Furthermore, while

18 extrinsic evidence can shed useful light on the relevant art, it is less significant than the intrinsic
19
     record in determining the legally operative meaning of claim language.
20
            76.      I understand that in general, a term or phrase found in the introductory words of the
21
     claim, the preamble of the claim, should be construed as a limitation if it recites essential structure
22

23 or steps, or is necessary to give life, meaning, and vitality to the claim. Conversely, a preamble

24 term or phrase is not limiting where a patentee defines a structurally complete invention in the

25 claim body and uses the preamble only to state a purpose or intended use for the invention. In

26
     making this distinction, one should review the entire patent to gain an understanding of what the
27
     inventors claim they actually invented and intended to encompass by the claims.
28
                                                      -21-                  Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 24 of 61




 1          77.     I understand that language in the preamble limits claim scope (i) if dependence on a

 2 preamble phrase for antecedent basis indicates a reliance on both the preamble and claim body to

 3
     define the claimed invention; (ii) if reference to the preamble is necessary to understand
 4
     limitations or terms in the claim body; or (iii) if the preamble recites additional structure or steps
 5
     that the specification identifies as important.
 6
            78.     I understand that the claims have not been construed by the Court at this
 7

 8 preliminary phase of the litigation.

 9 V.       PERSON OF ORDINARY SKILL IN THE ART
10          79.     In my opinion, a person of ordinary skill would have had a Master‘s degree in
11
     Computer Science or a Bachelor‘s Degree in computer science and approximately two years of
12
     academic or industry experience in computer software including experience concerning processing
13
     of text and/or processing of data, for instance employing, populating or otherwise using a data
14

15 base.

16          80.     I understand that a person having ordinary skill in the art is a hypothetical person.

17 A person of ordinary skill in the art is presumed to be one who thinks along the lines of

18 conventional wisdom in the art and is not one who undertakes to innovate, whether by
19
     extraordinary insights or by patient and often expensive systemic research.
20
            81.     I further understand that the hypothetical person of ordinary skill is presumed to
21
     have knowledge of all references in the pertinent art and to have knowledge of all arts reasonably
22

23 pertinent to the particular problem that the claimed invention addresses.

24 V.       CLAIM INTERPRETATION

25          82.     As discussed in the legal standards section, above, I understand that claim
26
     interpretation is an issue of law for the Court.   I further understand that, at this preliminary stage,
27
     the Court has not yet construed any claim terms.
28
                                                        -22-                 Case No. 12-CV-00630-LHK
                                                         EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                  CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 25 of 61




 1          83.     I have considered claims 6 and 19 of the ‗604 patent in light of the understanding

 2 of a person of ordinary skill in the art in the year 2000 and in the context of the specification and

 3
     the prosecution history.   I have reviewed the Polish Declaration in which Dr. Polish states that
 4
     his opinions are based on how he believes a person of ordinary skill in the art would have
 5
     understood the claims.     Polish Dec. ¶ 48.   I note that Dr. Polish did not set forth his
 6
     understanding of any claim terms in his declaration.     I have also reviewed the transcript of Dr.
 7

 8 Polish‘s deposition in which he explained his understanding of certain claim limitations.        Set

 9 forth below is my opinion concerning the meaning of certain claim limitations, based on my

10 present understanding.

11
            84.     “Heuristic Module” and ―Heuristic Algorithm‖: Based on his deposition
12
     testimony, Dr. Polish appears to assign a very broad meaning to ―heuristic algorithm,‖ and it is not
13
     entirely clear what he believes defines a ―heuristic algorithm.‖    See ,e.g., Polish Dep. at 44:3-
14

15 48:22; 50:4-52:19.      To the extent that Dr. Polish‘s understanding of ―heuristic algorithm‖ is

16 limited to algorithms that employ a ―rule of thumb‖ or some prior specific human knowledge, or

17 one of several items of human judgment embedded in the algorithm, then we appear to have a

18 similar understanding of the term. To the extent that Dr. Polish‘s interpretation of heuristic
19
     algorithm is broader than my understanding and/or could apply to search algorithms that can be
20
     designed without any specific, human knowledge, then I disagree with his interpretation.
21
            85.     ―A plurality of heuristic modules . . . wherein: each heuristic module
22

23 corresponds to a respective area of search and employs a different, predetermined heuristic

24 algorithm . . .‖:     In my opinion, this element requires that however many heuristic modules are

25 contained in the apparatus, each separate module must employ a different, predetermined heuristic

26
     search algorithm.    In my opinion, my interpretation is consistent with the plain meaning of the
27

28
                                                       -23-                 Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 26 of 61




 1 phrases ―a plurality of heuristic modules‖ wherein ―each heuristic module . . . employs a different,

 2 predetermined heuristic algorithm.‖

 3
            86.     Dr. Polish appears to believe that he can simply define the apparatus to exclude any
 4
     modules using the same algorithms.      See Polish Dep. at 75:12-79:13.    According to Dr. Polish,
 5
     ―you could pick and choose what aspects of a system you were accusing of infringement in
 6
     general . . .‖ Id. at 79:5-7.   In the context of the specific language of claim 6 of the ‗604 patent,
 7

 8 I disagree.

 9          87.     Claim 6 claims ―An apparatus for locating information in a network‖ comprising
10 various elements.     Those elements include ―a plurality of heuristic modules‖ wherein ―each
11
     heuristic module‖ employs a different heuristic algorithm.     The claim also requires search areas
12
     including ―storage media accessible by ―the apparatus.‖ This claim language makes clear that
13
     however many ―heuristic modules‖ are in ―the apparatus‖, each must be different.
14

15          88.     My interpretation of this claim limitation is also consistent with the specification.

16 The specification describes a ―plurality of plug-in modules‖ where ―[e]ach plug-in module has an

17 associated heuristic.‖ 4:11-15.       ―The heuristic of each plug-in module is different.‖ 5:13-14
18 The specification consistently discusses the invention in terms of numerous plug-in modules,
19
     identified as 1 thorugh ―n.‖    See, e.g., 4:11-12; 5:10-14. Figure 2 illustrates an exemplary
20
     embodiment of the invention:
21

22

23

24

25

26
27

28
                                                      -24-                  Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 27 of 61




 1 Under Dr. Polish‘s interpretation of the claim term, if plug-in module 222 employed the same

 2 algorithm of plug-in module 221, then one could decide not to consider plug-in module 222 as part

 3
     of the apparatus and the requirement that each module employ a different heuristic algorithm
 4
     would still be satisfied.
 5
             89.     In my opinion, Dr. Polish‘s opinion concerning this limitation is inconsistent with
 6
     the language of the claim and the teachings of the specification.
 7

 8           90.     ―Storage media accessible by the apparatus‖: During his deposition, Dr. Polish

 9 testified that he views this limitation of claim 6 as requiring local storage.       Polish Dep. at 87:11-
10 88:3; 89:8-20.     I disagree. The claim language itself – ―storage media accessible by the
11
     apparatus‖ – is not limited to local storage media.      In addition, as Dr. Polish testified,
12
     ―accessible‖ could mean ―anything on the Internet that could be accessed.‖          Polish Dep. at 89:8-
13
     20.   In my opinion, ―accessible‖ also includes servers in a local area network, or remote servers
14

15 or server clouds, so long as they provide storage that may be accessed

16           91.     Claim 6 claims ―[a]n apparatus for locating information in a network,

17 comprising: . . .‖ Dr. Polish‘s interpretation that ―storage media accessible by the apparatus‖

18 must be local storage media located on the device is inconsistent with the preamble‘s statement
19
     that the apparatus is for locating information in a network.
20
             92.     Dr. Polish testified at deposition that, in his opinion, ―accessible‖ as used in claim 6
21
     means ―item 12 in figure 1, local storage media.‖        Polish Dep. at 89:8-20.    In my opinion,
22

23 nothing in the specification supports Dr. Polish‘s opinion.

24           93.     According to the specification, Figure 1 ―illustrates the hardware components of a

25 networked computer system of a type in which exemplary embodiments of the present invention

26
     can be implemented.‖ ‗604 Patent, Col. 3, lines 4-6. Figure 1 shows both local and remote
27
     storage:
28
                                                       -25-                 Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 28 of 61




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13
            94.     The specification describes various possible storage locations, including remote
14

15 locations, as ―accessible‖ to the apparatus:

16                  In general, the present invention provides a universal interface that
                    enables the user to readily retrieve an item of desired information
17                  located on any of the various storage media that are accessible to the
                    user's computer system, with minimal effort. The desired
18                  information could be an application that is stored on the local
19                  storage media 12, a file stored on the LAN storage volume 8, or a
                    web page available through the Internet router 11.
20
     ‗604 Patent, Col. 3:55-62.
21
            95.     In my opinion, Dr. Polish‘s opinion concerning this limitation is inconsistent with
22

23 both the claim language and the specification.

24 VI.      NON-INFRINGEMENT

25          96.     As set forth in more detail above, I understand that an infringement analysis is a
26
     two step process.   First, the language of the claim is construed as it would be understood by one
27
     of ordinary skill in the art at the time of the filing of the patent application. Then the properly
28
                                                      -26-                 Case No. 12-CV-00630-LHK
                                                       EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 29 of 61




 1 construed claim is compared with the accused product to determine whether all of the features of

 2 the claim are present literally or by a substantial equivalent.

 3
              97.    I have reviewed Dr. Polish‘s Declaration and deposition transcript. Dr. Polish
 4
     fails to identify where or how several claim elements are present in the accused Samsung Galaxy
 5
     Nexus.
 6
              98.    Claim 6 requires ―a plurality of heuristic modules . . . wherein: each heuristic
 7

 8 module corresponds to a respective area of search and employs a different, predetermined heuristic

 9 algorithm corresponding to said respective area.‖          Broken down, this claim limitation requires at
10 least ―heuristic modules,‖ ―heuristic algorithm(s)‖, and that each heuristic algorithm be

11
     ―different.‖ Dr. Polish has not shown now any of these limitations are present in the Samsung
12
     Galaxy Nexus.
13
              99.    Heuristic: Dr. Polish has not explained how or why any of the search areas that
14

15 he identifies as ―heuristic modules‖ using ―heuristic algorithms‖ are heuristic in his opinion.       See

16 generally Polish Declaration. At deposition, Dr. Polish testified:

17                   Q. Was there a reason that you chose not to provide detail as to what
                     characteristics of the search made it a heuristic search?
18
19                   A. I think it was -- no, I didn't feel it was necessary to prove it. I
                     think that it was clear that this was operating in a heuristic manner;
20                   that it wasn't requiring a precise match; that it was -- it was looking
                     for – it gave you candidate matches. So I didn't feel like it was
21                   necessary to ground it in source code, at least for this purpose.
22
     Polish Dep. at 107:23-108:8.
23
              100.   Heuristic Algorithm:      Dr. Polish did not identify a single heuristic algorithms
24
     used in any search in the Samsung Galaxy Nexus.          See generally, Polish Decl.   Dr. Polish
25
     testified at deposition that
26
27                   Q. For the three that you do discuss, you don't identify the
                     algorithms corresponding to those searches, do you?
28
                                                       -27-                 Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 30 of 61




 1                  MR. BUROKER: Object to the form.

 2                  A.      No, I don't think I do.
 3                  Q. Why not?
 4                  A. It -- it didn't seem necessary to prove the point. They are -- they
 5                  are corresponding to what's called out in – in column 4. They are
                    those kinds of searches of those -- in those kinds of areas, and I
 6                  looked at the code and it -- and it -- it was, in my opinion, they were,
                    in my opinion, heuristic searches. I have not in this declaration laid
 7                  it out in more detail than that.
 8                                                    ***
 9                  Q. You don't identify any of the heuristic algorithms in your
10                  declaration, do you?

11                  MR. BUROKER: Object to form.

12                  A. Well, I identify these three heuristic modules as being -- as
                    having -- as being three different heuristic modules in the system.
13
                    Q. But the heuristic algorithms corresponding to the modules are not
14                  set forth in your declaration?
15
                    A. I don't lay out what the algorithms are, no.
16
     Polish Dep. at 110:7-11; 111:3:15.
17
            101.    Different, Predetermined Heuristic Algorithm:          Dr. Polish has not identified
18
     any differences between any algorithms used in the Samsung Galaxy Nexus.          See generally,
19

20 Polish Decl.; see also Polish Dep. at 112:18-113:4.      When testifying at deposition, Dr. Polish did

21 not even seem certain that he had identified differences between the algorithms. Polish Dep. at

22 112:6-12 (Q. ―Did you determine the nature of the algorithms was different?‖ A. ―Yes, I think I

23 did.‖ Q. ―Did you determine that each of the original – each of the algorithms differed

24
     heuristically instead of just logically?‖ A. ―Yes, I think I did.‖)   Dr. Polish also was not able to
25
     identify any of the supposed differences in the algorithms. Polish Dep. at 112:13-17.       He
26
     testified that he reviewed source code, but in his declaration he did not identify any specific
27

28 modules or lines of code that we reviewed in arriving at his opinions concerning the search
                                                  -28-                       Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 31 of 61




 1 algorithms used in the Samsung Galaxy Nexus.          See Polish Dep. at 113:5-7; see generally Polish

 2 Decl. and attachments.

 3
            102.    Each Heuristic Module . . . Employs a Different Predetermined Heuristic
 4
     Algorithm: As discussed in the claim construction section above, I disagree with Dr. Polish‘s
 5
     interpretation of this claim limitation. Using what I believe to be the correct interpretation of this
 6
     limitation, Dr. Polish has not even attempted to show that each of the eight items that he identifies
 7

 8 as heuristic modules on pages 20 through 22 of his declaration employ different algorithms.        See

 9 Polish Dec. at 20-21. Dr. Polish testified that he does not know whether each of those modules is

10 different:

11
                    Q. Now, on paragraph 65 of your declaration, you state that, "Each
12                  heuristic module shown above employs a different, predetermined
                    heuristic algorithm corresponding to the respective area of search."
13                  Do you see that?
14                  A. Yes.
15
                    Q. And is it your opinion that each of the eight modules that we just
16                  discussed employed a different, predetermined heuristic algorithm
                    corresponding to the respective area of search?
17
                    A. Well, certainly the three that I called out are different. I can't say
18                  that I --that I'm -- I can't say for certain that each of the other ones
19                  are different. They may or may not be. They likely are, but I have –
                    I don't -- I haven't looked at them enough to be certain.
20
                    Q. You don't know whether the other five use different heuristic
21                  algorithms, the five that you did not specifically discuss?
22
                    A. I think they likely do, but I don't know for sure.
23
     Polish Dep. 109:8-110:6.
24
            103.    Even using Dr. Polish‘s interpretation of this claim limitation, he has not
25
     demonstrated that this limitation is satisfied by the accused device. As discussed above, Dr.
26
27 Polish he has not identified any search algorithms used in the Samsung Galaxy Nexus and his not

28 explained how any algorithms differ.
                                                      -29-                  Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 32 of 61




 1          104.      I have been informed that, at this preliminary injunction stage, Apple must show

 2 that it is likely to succeed on the merits.    I have also been informed that it will ultimately be
 3
     Apple‘s burden to prove infringement.       Even so, I have reviewed elements of the publicly
 4
     available source code that Dr. Polish identifies as the code he understands is running on the
 5
     Samsung Galaxy Nexus.        See Polish Decl. at 20, n. 1. Having reviewed that code, it is my
 6
     opinion that the Samsung Galaxy Nexus does not infringe claims 6 or 19 of the ‗604 patent.
 7

 8          105.      Heuristic Modules/Heuristic Algorithm:        In his declaration, Dr. Polish identifies

 9 eight different search areas as ―heuristic modules:‖ (1) Google: Google Search suggestions;1 (2)

10 Apps: Names of installed applications; (3) Books:          Books in your library; (4) Browser:
11
     Bookmarks and web history; (5) Messaging:        Text in your message; (6) Music:     Artists, albums
12
     and tracks: (7) People:    Names of your contacts; and (8) Videos: Rented Movies.         See Polish
13
     Dec. at 21-22.    I have reviewed portions of the publicly available Android 4.0 source code
14

15 associated with five of the search areas that Dr. Polish identifies as ―modules‖:      Apps, Browser,
                                2
16 Messaging, Music and People.         I have also reviewed the declaration of Björn Bringert, a

17 software engineer for Google.       In my opinion, the search areas that Dr. Polish identified as
18 modules do not satisfy the claim elements ―heuristic modules‖ wherein ―each heuristic module . . .
19
     employs a different, predetermined heuristic algorithm.‖
20
            106.       With the exception of Google search suggestions, each of the ―modules‖
21
     identified by Dr. Polish search the particular user‘s information.   For example, Apps searches
22

23 ―installed‖ applications.     Books searches books in ―your,‖ the user‘s, library. Similarly,

24

25      1
          I understand that, for the Google Search suggestions module, the phone sends a query to
26 Google servers and gets a result back from those servers.
        2
27           Portions of source code concerning the Apps, Browser, Messaging, Music and People
     searches are attached as Exhibits L-N, O-R, S-W, X-AA, and F-J, respectively.
28
                                                       -30-                 Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 33 of 61




 1 Browser searches the user‘s bookmarks and recent history, text searches in the user‘s messages,

 2 and contacts searches in the user‘s contacts.

 3

 4

 5
            107.    Based on my own review of the source code
 6

 7

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11
                                                                                  These searches do not
12
     incorporate a rule of thumb or any particular human knowledge specific to the problem or the data
13
     or to the user, and they are not heuristic. According, in my opinion these searches satisfy neither
14

15 the ―heuristic module‖ nor ―heuristic algorithm‖ limitations of claim 6.

16          108.    In addition, as set forth in the Bringert declaration and confirmed by my review of

17 portions of source code, even if these searches were using heuristic algorithms, which they are not

18 in my opinion, they are not using different heuristic algorithms, and therefore do not satisfy the
19
     ―each heuristic module . . employs a different, predetermined heuristic algorithm . . .‖ limitation.
20

21

22

23

24 VII.     INVALIDITY
25          109.    In my opinion, nothing in claims 6 and 19 the ‘604 patent was novel or non-

26 obvious in 2000.     Searching over a network was not new in 2000.       Using an apparatus such as a
27
     computing device that included a user input and a display for such searches was not new.
28
                                                      -31-                 Case No. 12-CV-00630-LHK
                                                       EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 34 of 61




 1 Devising modular searches to search different locations was not new, and using heuristic

 2 algorithms to search was not new.

 3
            110.     In my opinion, claims 6 and 19 of the ‗604 patent are anticipated and/or rendered
 4
     obvious by at least the Wide Area Information Server protocol (―WAIS‖), United States Patent No.
 5
     6,005,565 to Legall (―Legall‖), United States Patent No. 6,324,534 to Neal (―Neal‖) and ―The
 6
     MetaCrawler Architecture for Resource Aggregation on the Web,‖ Selberg and Etzioni (1996)
 7

 8 (―MetaCrawler‖),alone or in combination with the general knowledge in the art and/or with

 9 specific prior art as identified below and in the claim charts attached as Exhibits B-E.

10          A.       WAIS Anticipates and/or Renders Obvious the Asserted Claims
11
            111.     WAIS was a client-server search system that was in use by the early 1990s.
12
            112.     I have reviewed various materials concerning WAIS as set forth in Exhibit B,
13
     including background materials, requests for comments (RFCs), and user guides on the Wide Area
14

15 Information Server (WAIS) protocol.       See Exhibits K, GG-LL, and TT-XX.       I understand the

16 communications protocol, system architecture, and capabilities of systems communicating via the

17 WAIS protocol prior to the priority date of the ‗604 Patent.

18          113.     I have also examined the source code of FreeWAIS-sf release 2.2.12, an update to
19
     the WAIS server software released by CNDIR in 1999. Excerpts attached as Exhibit LL.
20
     FreeWAIS-sf added key functionality to the WAIS server software, such as the ability to define
21
     searchable fields in document databases.
22

23          114.     I have also viewed an operational system assembled by Lyle Bickley, and described

24 in his declaration.    I have witnessed the result of performing a search from a MacWAIS

25 Macintosh client to a server having two separate databases, each having a separate and different

26
     synonym file.    In the demonstration, I witnessed a Macintosh client selecting two database
27
     sources and issuing a single query to both databases substantially simultaneously.   I have
28
                                                     -32-                 Case No. 12-CV-00630-LHK
                                                      EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                               CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 35 of 61




 1 witnessed the server return matching documents to the client in response to the query.      I have

 2 additionally viewed Lyle demonstrate local search from the server terminal; the server is capable

 3
     of searching its own internal databases from a command line.
 4
            115.    In my opinion, WAIS systems prior to January 5, 2000 were capable of practicing,
 5
     and actually practiced every single limitation of claims 6 of the ‗604 Patent.   In my opinion,
 6
     claim 19 of the ‗604 patent would have been obviousness to a person of ordinary skill in the art in
 7

 8 2000 based on WAIS in combination with EMACS, WordPerfect 5.2 or Siitonen. The bases for

 9 my opinions are summarized below and are set forth in greater detail in the claim chart attached as

10 Exhibit B.

11
            116.    An apparatus for locating information in a network, comprising:          A
12
     Macintosh computer running the WAIStation client software is an apparatus for locating
13
     information in a network.   Additionally, the Macintosh running the MacWAIS client in the
14

15 demonstration described in paragraph 131 was connected to the Linux server via an Ethernet

16 switch (Bickley Decl. At ¶ 9.)

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28
                                                     -33-                  Case No. 12-CV-00630-LHK
                                                       EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 36 of 61




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14          (Exhibit JJ at p. 1.)

15          117.    An interface module configured to receive an inputted information descriptor
16 from a user-input device:          The WAIStation user interface included a ―questions‖ window that
17
     allowed a user to type in a query in free-form text.      This query constitutes an ―inputted
18
     information descriptor.‖       A user typically utilized a keyboard and mouse to input questions into
19
     the WAIStation user interface, and as such, the WAIStation client receives the inputted
20

21 information descriptor via a user-input device.

22

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28
                                                        -34-                  Case No. 12-CV-00630-LHK
                                                          EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                   CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 37 of 61




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14                                                                                                      (
15          (Exhibit YY)
16
            118.   The MacWAIS client demonstrated by Mr. Bickley contained a similar user
17
     interface. After selecting database sources, the user may enter a query into the ―Tell me about‖
18
     window in plain text, via natural language or Boolean logic:
19

20

21

22

23
            (Exhibit KK at 11.   (MACWAIS USER MANUAL)
24
            119.   A plurality of heuristic modules configured to search for information that
25
     corresponds to the received information descriptor:      The WAIStation client permits a user to
26
27 select one or more sources for simultaneous search, as shown below.

28
                                                    -35-                 Case No. 12-CV-00630-LHK
                                                     EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                              CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 38 of 61




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 4           (―sketch of an overview doc‖ Exhibit HH at ¶1.).

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             (Exhibit YY.)
20
             120.   Similarly, the MacWAIS client I have seen demonstrated included such a user
21
     interface as well.   It permitted Mr. Bickley to select a first database of RFCs on the server, a
22

23 second database of usenet frequently asked questions on the server, or both for simultaneous

24 search.

25

26
27

28
                                                      -36-                  Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 39 of 61




 1          (Exhibit KK at 10.)

 2          121.    Each selected source, or server, runs a WAIS server program, such as WAISserver
 3
     or FreeWAIS-sf. Each selected server is configured to search its own stored database of
 4
     information with the received search query. Thus each server comprises a separate heuristic
 5
     module configured to search for information that corresponds to the received information
 6
     descriptor.
 7

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10
            (Exhibit GG at ¶ 3.)
11
            122.    Furthermore, in the demonstration I viewed, each database located on a single
12
     server could be searched independently. Therefore, the instructions to search each individual
13

14 database on a single server also constitute a heuristic module.

15          123.    Wherein each heuristic module corresponds to a respective area of search and

16 employs a different, predetermined heuristic algorithm corresponding to said respective

17
     area to search the area for information that corresponds to the received information
18
     descriptor:
19
            124.    Because WAIS commits only to a protocol, theoretically, each source, or server,
20
     could have implemented its own search algorithm or indexing method. Exhibit HH states, ―since
21

22 WAIS really just specifies the protocol for the client and server to use for communication, the

23 underlying search on the server could just as well use various natural language queries upon its

24 information.‖ (Id. At ¶ 2.) However, even assuming that all servers ran conventional WAIS

25
     server programs, each server still utilizes different heuristic algorithms.
26
            125.    Each server administrator may configure his or her server to perform the search by
27
     a certain number of heuristic algorithms.    One such heuristic algorithm is the use of synonym
28
                                                      -37-                  Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 40 of 61




 1 searching. A server administrator may construct synonym files that will also search particular

 2 synonyms for an input query. These synonym files import human knowledge, as an algorithm

 3
     cannot determine that a synonym for ―programming,‖ for example, may be ―hacking.‖ Thus, the
 4
     use of different synonym files by different server administrators constitutes each server, or
 5
     heuristic module, employing a different predetermined heuristic algorithm corresponding to the
 6
     server‘s internal WAIS databases with the input query.
 7

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10
            (Exhibit JJ at 19.)
11

12          126.    In the demonstration I viewed, Mr. Bickley demonstrated searches of terms that

13 were included in his synonym files, but not in the actual documents.        For example, Mr. Bickley

14 performed a search for the term ―freewais‖, which he had associated with ―wais.‖ The server

15 returned all documents including the term ―wais.‖         (Bickley Decl. at ¶ 7.)   These synonym files
16
     are not generally built algorithmically and import human knowledge, often the specific knowledge
17
     of the database administrator. As such, the local file search also employs a predetermined
18
     heuristic algorithm.
19

20          127.    Using Dr. Polish‘s interpretation of this claim limitation, this limitation would be

21 satisfied if any two modules used different heuristic algorithms.       Because at least the two servers

22 used different synonym files, and therefore heuristic algorithms, this element is necessarily

23
     satisfied using Dr. Polish‘s claim interpretation.
24
            128.    Furthermore, the demonstration I viewed satisfies the claim limitations by Dr.
25
     Polish‘s interpretation.   Mr. Bickley demonstrated that the synonym files were, in fact, different
26
     for each of the RFC and FAQ databases.       (Bickley Decl. at ¶ 8.) Therefore, the search of each
27

28 of the two databases utilized different heuristic algorithms by Dr. Polish‘s interpretation.
                                                     -38-                       Case No. 12-CV-00630-LHK
                                                          EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                   CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 41 of 61




 1          129.    Furthermore, freeWAIS-SF permits users to define structured fields in their

 2 databases. These structured fields may be defined, and therefore searched, via TEXT,

 3
     SOUNDEX, and PHONIX. SOUNDEX and PHONIX are heuristic algorithms that attempt to
 4
     capture the sound of particular words such that exact spelling is unnecessary.
 5

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15          (Exhibit JJ at 19.)
16
            130.    I understand that SOUNDEX is a heuristic algorithm implemented by the census
17
     bureau in the mid 1900‘s and PHONIX is an improvement of PHONIX developed by T.N. Gadd
18
     and published in 1988. I have viewed the source code of freeWAIS-SF Version 2.2.12,
19

20 particularly the file, SOUNDEX.C, and attest that both these methods are heuristic rather than

21 algorithmic.

22          131.    The search areas include storage media accessible by the apparatus:
23
            132.    WAIStation permits a user to search databases stored remotely on WAIS servers.
24
     The databases are stored on storage media.   Because the WAIStation client can access data from
25
     these server storage media, WAIStation‘s search areas include ―storage media accessible by the
26
     apparatus.‖
27

28
                                                    -39-                  Case No. 12-CV-00630-LHK
                                                      EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                               CONCERNING U.S. PATENT NO. 8,086,604
       Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 42 of 61




 1            133.     To the extent that Apple asserts that ―storage media accessible by the apparatus‖

 2 must be limited to ―local storage media‖ (see Polish deposition at 88:3; 89:8-20 ), a contention

 3
     with which I disagree, the WAIStation client also permits the user to search his or her own local
 4
     files.
 5

 6

 7

 8            (Waistation User Guide Exhibit II at ¶ 10.)
 9            134.     A user may index a collection of files and search them with a search of selected
10
     WAIS servers. The local database may be stored on the hard disk of the same Macintosh
11
     machine running the WAIStation client software.          Thus, WAIStation permits the searching of
12
     local storage media.     I understand that other implementations of WAIS clients permitted
13

14 searching locally stored index files, such as MacWAIS:

15

16

17

18
              (Exhibit K at page 4.)
19

20            135.     Additionally, each WAIS server is capable of searching its local index files and

21 databases.        I have viewed such functionality from a terminal command line in Mr. Bickley‘s
22 Linux server.        Furthermore, my review of the freeWAIS-sf documentation indicates that
23
     FreeWAIS was capable of generating index files for search by other clients, such as MacWAIS:
24

25

26
27
              (Exhibit JJ at page 8.)
28
                                                       -40-                  Case No. 12-CV-00630-LHK
                                                         EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                  CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 43 of 61




 1          136.    Therefore, to the extent that the claim limitation ―storage media accessible to the

 2 apparatus‖ requires local storage media, a contention with which I disagree, WAIS protocol clients

 3
     and servers were capable of and commonly performed searches of local databases or index files,
 4
     and therefore anticipate the claim.
 5
            137.    A display module configured to display one or more candidate items of
 6
     information located by the plurality of heuristic modules on a display device:          The
 7

 8 WAIStation client includes a display module configured to display one or more candidate items of

 9 information located by the plurality of heuristic modules on a display device.       Upon executing a
10 search, a ranked list of document headlines is returned from each of the plurality of sources

11
     selected for searching.
12
            138.    In my opinion, claim 19 is rendered obvious by WAIS in combination with the
13
     general knowledge in the art as of 2000.    The added element of claim 19 concerns searching as
14

15 portions of the information descriptor are added.      This functionality requires high speed

16 processing and/or high speed connections. WAIStation and WAIS systems were popular in the

17 early 1990s before high-speed modems were available. Consumer modem data rates in 1991

18 peaked at 14.4 kilobits per second.      At such data rates, providing real-time, or incremental, search
19
     results was pointless due to the fact that results would not return prior to the user finishing the
20
     entry of his or her complete query.    By 2000, when these hardware limitations no longer
21
     constrained the ability to search as information was being entered.     Below are merely a couple of
22

23 examples of prior art that, in combination with WAIS, would have made claim 19 obvious to a

24 person of ordinary skill in 2000.

25          139.    The apparatus of claim 6, wherein the interface module is configured to
26
     receive portions of the information descriptor as the portions are being inputted: The
27
     WAIStation client discloses an interface module configured to receive portions of the information
28
                                                      -41-                  Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 44 of 61




 1 descriptor as the portions are being inputted. The WAIStation client permits the user to enter

 2 search terms one character at a time, and the characters are displayed on the Questions window as

 3
     the characters are being inputted by the user.
 4
            140.     And wherein the heuristic modules are configured to search for information
 5
     that corresponds to the portions of the information descriptor as the portions are being
 6
     received.     As discussed above and in the chart attached as Exhibit B, it would have been obvious
 7

 8 to combine WAIS with incremental search functionality. The first documented use of

 9 incremental search of which I am aware was in EMACS text-editors, such as EMACs for ITS.                  In
10 EMACS, as the user typed particular search strings suggested search results pulled from a local

11
     database on a character-by-character basis. A 1978 document from the MIT Artificial Intelligent
12
     Laboratory, AI Memo No. 447 entitled ―An Introduction to the EMACS Editor,‖ describes the
13
     incremental search functionality of EMACS on page 12.        Exhibit MM. ―[Control+] X will
14

15 describe one or all [Control +X]-commands, depending on the character typed next:           if you type

16 ‗*‘, all the [Control+X] commands are listed and briefly described; if you type another character

17 that [Control+x] command is describe in detail.‖       Exhibit MM at 12.     I personally used this
18 EMACS editor in the late 1970s and early 1980s, including incremental search.
19
            141.     The incremental search feature was also implemented in the GNU Emacs text
20
     editor. Exhibit NN at paragraphs 4-6 describe the operation of such a function when searching a
21
     document or memory buffer: ―An incremental search begins searching as soon as you type the
22

23 first character of the search string. As you type in the search string, Emacs shows you where the

24 string (as you have typed it so far) would be found… C-s starts an incremental search. C-s reads

25 characters from the keyboard and positions the cursor at the first occurrence of the characters that

26
     you have typed. If you type C-s and then F, the cursor moves right after the first `F'. Type an O,
27
     and see the cursor move to after the first `FO'. After another O, the cursor is after the first `FOO'
28
                                                      -42-                  Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 45 of 61




 1 after the place where you started the search. At each step, the buffer text that matches the search

 2 string is highlighted, if the terminal can do that; at each step, the current search string is updated in

 3
     the echo area.‖
 4
            142.       Another early implementation of incremental search was WordPerfect 5.2 for
 5
     Windows, released November 30, 1992. Exhibit PP. As the user typed in characters in the ―edit‖
 6
     box, the Speller plug-in would suggest words beginning with the letters entered, as shown below:
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            143.       U.S. Patent No. 6,049,796 to Siitonen, filed February 24, 1997 and issued April 11,
23
     2000 (Siitonen) provides yet another example of incremental search. Exhibit OO. Siitonen
24
     expressly describes incremental search used in a personal digital assistant (―PDA‖).
25
            144.       By the time of invention, consumer access to broadband Internet connections was
26
27 widespread.     It would have been obvious to one of ordinary skill in the art at the time of

28 invention to include in WAIS a method of displaying incremental search results or real-time
                                                 -43-                      Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 46 of 61




 1 search results as the user types his or her query.    Such a modification would provide user

 2 instantaneous feedback as to whether his or her query is correct.

 3
            B.      Legall Anticipates and/or Renders Obvious the Asserted Claims
 4
            145.    Legall is an issued United States Patent entitled ―Integrated Search of Electronic
 5
     Program Guide, Internet and Other Information Resources.‖       Legall describes a ―power search
 6
     tool that enables a user to search an electronic program guide and other information resources with
 7

 8 one search.‖ See Exhibit FF at Abstract.

 9          146.    I understand that Legall was filed on March 25, 1997 and issued on December 21,
10 1999.     In my opinion, Legall anticipates each claim 6 of the ‗604 patent.    In my opinion, claim
11
     19 of the ‗604 patent would have been obvious to a person of ordinary skill in the art in 2000
12
     based on Legall in combination with general knowledge in the art and/or in combination with
13
     EMACS for ITS, WordPerfect 5.2 or Siitonen. The bases for my opinions are summarized below
14

15 and are set forth in greater detail in the claim chart attached as Exhibit C.

16          147.    An apparatus for locating information in a network, comprising:          Legall

17 discloses a search tool for searching broadcast information and Internet information using a single

18 user-initiated search in col. 1, lines 32-34.   The Internet is a network of computing servers.    FIG.
19
     3A, reproduced below, illustrates the network environment of the power search tool that is capable
20
     of searching Internet 312.
21

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                                                     -44-                   Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 47 of 61




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12          148.    An interface module configured to receive an inputted information descriptor
13
     from a user-input device:     Legall discloses that a user may enter a query via a keyboard, mouse,
14
     or remote control.   (Col. 2, lines 26-28).   Legall also discloses that the search tool includes a
15
     window 375 which includes a topic area 340, that permits the user to input, via the keyboard,
16

17 mouse, or remote control, a search query, or ―topic.‖ This topic is an ―information descriptor‖ as

18 that term is used in claim 6.    FIG. 3B below illustrates an example user interface of the power

19 search tool, including a topic area 340.

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                                                      -45-                  Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 48 of 61




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            149.    A plurality of heuristic modules configured to search for information that
14
     corresponds to the received information descriptor:       Legall discloses at least two modules,
15
     one that searches an electronic program guide (EPG), and one that searches the Internet via a
16

17 search engine.    Legall discloses that the Internet search may utilize search engines Yahoo,

18 AltaVista, Excite, and Infoseek. (FIG. 3B).       Each search engine at the time used its own

19 internal heuristics to maximize relevance of retrieved web pages and to rank said retrieved web

20 pages with respect to the user‘s query, popularity and other factors. Legall also discloses that a

21
   script may be generated that executes a sequence of commands needed to perform the search using
22
   the aforementioned search engines, or a specially created search engine (col. 4, lines 28-31).
23
   Legall also discloses that the EPG search may be performed via a search tool, which may be a
24

25 database search tool or a tool specifically written for searching the EPG. (col. 4, lines 28-34).

26          150.    Wherein each heuristic module corresponds to a respective area of search and
27 employs a different, predetermined heuristic algorithm corresponding to said respective

28
                                                     -46-                 Case No. 12-CV-00630-LHK
                                                      EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                               CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 49 of 61




 1 area to search the area for information that corresponds to the received information

 2 descriptor:     Legall discloses at least two search modules, one for searching the Internet via the
 3
     aforementioned search engines or a specially created search engine, and another module for
 4
     searching an EPG. Thus, these modules each correspond to a respective area of search.
 5
            151.    To the extent that Dr. Polish‘s interpretation of ―heuristic algorithm‖ includes any
 6
     of the algorithms used in the applications modules on the Galaxy Nexus, it is necessarily broad
 7

 8 enough to include the algorithms that were used in search engines such as Yahoo, AltaVista,

 9 Excite, and Infoseek at the time of the Legall filing.

10          152.    Furthermore, to the extent that Dr. Polish‘s interpretation of ―heuristic algorithm‖
11
     includes any of the algorithms used in the applications modules on the Galaxy Nexus, it is also
12
     necessarily broad enough to include the algorithms the algorithms that Legall discloses for
13
     searching the EPG.    In Column 4, lines 31-32, Legall states, ―the search is performed on the EPG
14

15 using a search tool. The search tool may be a simple text search tool or database search tool, or a

16 tool specifically written for searching the EPG.‖     Legall contrasts a simple text search tool, a

17 deterministic, non-heuristic algorithm, with a database search tool, which would have been

18 understood by a person of ordinary skill in the art at the time of the Legall filing to utilize heuristic
19
     algorithms.   Legall contrasts both the text search tool and database search tool with a tool
20
     ―specifically written for searching the EPG.‖ A specialized tool written specifically for searching
21
     the EPG necessarily implies the importation of heuristic knowledge; otherwise, a simple algorithm
22

23 such as a text search tool would be sufficient.

24          153.    The Internet search module, when configured to search using one of the selectable

25 commercial search engines, employs a different heuristic search algorithm than the algorithm

26
     utilized by the EPG search tool. Because the search algorithm of Yahoo, AltaVista, Infoseek,
27
     and Excite were proprietary and non-public information at the time of the Legall filing, it
28
                                                      -47-                  Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 50 of 61




 1 necessarily follows that the search tool search algorithm is different than one of these Internet

 2 search algorithms.

 3
            154.    Moreover, using Dr. Polish‘s interpretation of this claim limitation, the limitation
 4
     would be satisfied if any two modules use different heuristic algorithms. Because at least the
 5
     Internet Search and EPG search modules used different heuristic algorithms, this element is
 6
     necessarily satisfied using Dr. Polish‘s claim interpretation.
 7

 8          155.    The search areas include storage media accessible by the apparatus: The

 9 Legall reference permits searching of content stored on Internet servers.     This content is
10 necessarily stored on storage media.      Moreover, the results of the search by each search engine
11
     must be stored locally in order to display to the user, and in order to seek the documents
12
     corresponding to user selections of search results. Hence, there is both remote and local storage
13
     media in accessed.    Additionally, search engines cannot crawl, or pre-search, storage media that
14

15 is non-public. Thus, Legall discloses searching storage media accessible by the apparatus.

16          156.    To the extent that Apple asserts ―storage media accessible by the apparatus‖ is

17 limited to ―local storage media‖ (see Polish Dep. at 87:11-88:3; 89:8-20), a contention with which

18 I disagree, the Legall reference also discloses local storage media.    As previously discussed,
19
     Legall discloses a search tool that may search and filter the EPG.   In Column 2, lines 17-24,
20
     Legall discloses, ―Receiver 105 in one embodiment is a satellite receiver for receiving satellite
21
     transmissions of broadcasts and programming information through antenna 106. Using the
22

23 programming information received through receiver 105, the system 100 can generate an

24 electronic program guide (EPG) on the display 120. As will be described below, the EPG can be

25 modified or filtered according to the searching performed by the user.‖ Thus, it is my opinion

26
     that the EPG is stored locally on system 100, because it is generated by the system 100. When a
27
     user searches the EPG using the search tool, it searches the EPG that has already been generated
28
                                                      -48-                  Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 51 of 61




 1 by system 100 and resident on some local storage media in system 100. Thus, it is my opinion

 2 that Legall discloses searching local storage media.

 3
            157.    Legall also repeatedly discloses that the invention contemplates searching of local
 4
     databases. See Col. 2, lines 35-37 (―it is readily apparent that the system is not limited to Internet
 5
     access and can access a variety of external or internal resources including third party databases.‖).
 6
            158.    A display module configured to display one or more candidate items of
 7

 8 information located by the plurality of heuristic modules on a display device.          Legall

 9 discloses a display module that is configured to display one or more candidate items of

10 information located by the plurality of heuristic modules on a display device. FIG. 2 depicts and

11
     example search results screen of the power search tool, including at least three suggested websites
12
     from the Internet search heuristic module, and one movie result from the EPG search heuristic
13
     module.   Legall also discloses, ―once the search has been performed, the results are presented to
14

15 the user… the result 604 of any web searches 605 are presented in an HTML frame 610 on the

16 display.‖ Therefore, Legall discloses a display module configured to display one or more

17 candidate items of information located by the plurality of heuristic modules on a display device.

18 Figure 2, reproduced below, illustrates an example power search result including both web results
19
     215 and EPG results 220.
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28
                                                     -49-                  Case No. 12-CV-00630-LHK
                                                       EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 52 of 61




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            159.    In my opinion, claim 19 is rendered obvious by Legall in combination with the
16
     general knowledge in the art as of 2000 for the same reasons that a combination of WAIS and the
17

18 knowledge in the art render claim 19 obvious.
19          160.    The apparatus of claim 6, wherein the interface module is configured to

20 receive portions of the information descriptor as the portions are being inputted:            Legall
21 discloses an interface module configured to receive portions of the information descriptor as the

22
     portions are being inputted.   In column 3, lines 62-64, Legall states, ―text strings 401 are entered
23
     or selected for the topic list which indicate the topic or terms to be used to perform the search.
24
     FIG. 3 also illustrates an example search window, in which Power search window includes topic
25

26 field 340 for displaying a search string as the user types it in:
27

28
                                                      -50-                  Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 53 of 61




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            161.      And wherein the heuristic modules are configured to search for information
 8
     that corresponds to the portions of the information descriptor as the portions are being
 9
     received.     Incorporating incremental search functionality in the invention described in Legall
10
     would have been obvious to a person of ordinary skill in the art in 2000. As discussed above,
11

12 incremental searching was well known, including in MIT‘s EMACs work, WordPerfect 5.2, and

13 patents such as Siitonen. A person of ordinary skill in the art in 2000 would have combined the

14 disclosures of Legall with known techniques for incremental search to achieve predictable results.

15
            162.      It would have been obvious to one of ordinary skill in the art at the time of
16
     invention to include in Legall a method of displaying incremental search results or real-time
17
     search results as the user types his or her query.    Such a modification would provide user
18
     instantaneous feedback as to whether his or her query is correct.
19

20          C.        Neal Anticipates and/or Renders Obvious the Asserted Claims

21          163.      Neal is an issued United States Patent entitled ―Sequential Subset Catalog Search.‖
22 Neal describes an electronic search engine for catalog searching that is configured to optimize the

23
     search process.
24
            164.      I understand that Neal was filed on September 10, 1999 and issued on November
25
     27, 2001.     In my opinion, Neal anticipates each claim 6 of the ‗604 patent.    In my opinion,
26
27 claim 19 of the ‗604 patent would have been obviousness to a person of ordinary skill in the art in

28 2000 based on Neal in combination with general knowledge in the art and/or in combination with
                                                -51-                       Case No. 12-CV-00630-LHK
                                                          EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                   CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 54 of 61




 1 EMACS for ITS, WordPerfect 5.2 or Siitonen. The bases for my opinions are summarized below

 2 and are set forth in greater detail in the claim chart attached as Exhibit E.

 3
            165.    An apparatus for locating information in a network, comprising:           Neal
 4
     discloses a system and method for cascading search methodologies.       See, e.g., Neal at 1:6-10.
 5
     Neal discloses searching over a network. See, e.g., Neal Figure 1.
 6

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            166.    An interface module configured to receive an inputted information descriptor
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     from a user-input device:     Neal inherently discloses an interface module to receive an inputted
21

22 information descriptor.    Neal discloses that a user inputs search terms to a user interface.    See,

23 e.g., Neal at 3:35-36; 3:63-67.

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                                                     -52-                  Case No. 12-CV-00630-LHK
                                                       EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 55 of 61




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13          167.    A plurality of heuristic modules configured to search for information that
14 corresponds to the received information descriptor:          Neal discloses at least two heuristic
15
     modules. Neal discloses searching different data sets with different search strategies.     See, e.g.,
16
     Neal at 3:25-34.   Figure 2 illustrates that the input search terms are used to search different data
17
     sets, or modules, are searched with different search methodologies. See, e.g., Figure 2.
18
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                                                      -53-                 Case No. 12-CV-00630-LHK
                                                       EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 56 of 61




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14          168.    Wherein each heuristic module corresponds to a respective area of search and
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     employs a different, predetermined heuristic algorithm corresponding to said respective
16
     area to search the area for information that corresponds to the received information
17
     descriptor:   Neal discloses at least two search modules used to search different data sets with
18
19 different search methodologies.     See, e.g., Neal at 3:25-34; 4:47-57; Figure 2.

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     Neal discloses the use of heuristic algorithms, such as use of synonyms, natural adjectives, and
27

28 fuzzy logic.    See, e.g., Neal 4:13-17; 8:37-58.
                                                       -54-                 Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 57 of 61




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     Neal Col. 8:37-58.
14
            169.    The search areas include storage media accessible by the apparatus: Neal
15

16 discloses search areas accessible by the apparatus, including search of a database.      See, e.g., Neal

17 at 5:20-29; 5:53-64.

18          170.    A display module configured to display one or more candidate items of
19
     information located by the plurality of heuristic modules on a display device.         Neal
20
     inherently discloses a display module as it discloses a user page that is displayed to the user.   See,
21
     e.g., Neal at Abstract; 8:11-17.
22

23          171.    The apparatus of claim 6, wherein the interface module is configured to

24 receive portions of the information descriptor as the portions are being inputted: Neal

25 inherently discloses an interface module to receive an inputted information descriptor. Neal

26 discloses that a user inputs search terms to a user interface.   See, e.g., Neal at 3:35-36; 3:63-67.
27

28
                                                      -55-                  Case No. 12-CV-00630-LHK
                                                        EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                 CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 58 of 61




 1          172.     And wherein the heuristic modules are configured to search for information

 2 that corresponds to the portions of the information descriptor as the portions are being

 3
     received.     Incorporating incremental search functionality in the invention described in Neal
 4
     would have been obvious to a person of ordinary skill in the art in 2000. As discussed above,
 5
     incremental searching was well known, including in MIT‘s EMACs work, WordPerfect 5.2, and
 6
     patents such as Siitonen. A person of ordinary skill in the art in 2000 would have combined the
 7

 8 disclosures of Neal with known techniques for incremental search to achieve predictable results.

 9          173.     It would have been obvious to one of ordinary skill in the art at the time of
10 invention to include in Legall a method of displaying incremental search results or real-time

11
     search results as the user types his or her query.    Such a modification would provide user
12
     instantaneous feedback as to whether his or her query is correct.
13
            D.       MetaCrawler Anticipates and/or Renders Obvious the Asserted Claims
14

15          174.     MetaCrawler was a Web search service that was available at the University of

16 Washington beginning in 1995 and was described in various articles, including ―The MetaCrawler

17 Architecture for Resource Aggregation on the Web‖ (―MetaCrawler‖), the article on which I rely

18 for my opinions in this declaration.     Exhibit RR. MetaCrawler was merely one of many
19
     ―metasearch‖ engines.     There were a number of ―metasearch‖ engines in use before 2000,
20
     including SavvySearch, Dogpile, and Ixquick.
21
            175.     The MetaCrawler article on which I rely in this declaration was published in
22

23 November 8, 1996.        In my opinion, MetaCrawler anticipates each claim 6 of the ‗604 patent.    In

24 my opinion, claim 19 of the ‗604 patent would have been obvious to a person of ordinary skill in

25 the art in 2000 based on MetaCrawler in combination with general knowledge in the art and/or in

26
     combination with EMACS for ITS or WordPerfect 5.2.           The bases for my opinions are
27
     summarized below and are set forth in greater detail in the claim chart attached as Exhibit D.
28
                                                      -56-                    Case No. 12-CV-00630-LHK
                                                          EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                   CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 59 of 61




 1          176.    An apparatus for locating information in a network, comprising:

 2 MetaCrawler disclosed a Web search service that provided users with a single interface that

 3
     allowed them to query multiple Web search services. MetaCrawler at 1.
 4
            177.    An interface module configured to receive an inputted information descriptor
 5
     from a user-input device:     MetaCrawler disclosed an interface module that allowed users to
 6
     input searches then refine their query with various choices.
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     MetaCrawler at 5-6.
18
            178.    A plurality of heuristic modules configured to search for information that
19
     corresponds to the received information descriptor:       MetaCrawler disclosed a searching a
20

21 plurality of modules, each of which represented a particular service, using a single query. The

22 ―Harness‖ element of MetaCrawler is implemented as a collection of modules, where each module

23 represents a particular service:

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28 MetaCrawler at 6.
                                                     -57-                 Case No. 12-CV-00630-LHK
                                                      EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                               CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 60 of 61




 1          179.    Wherein each heuristic module corresponds to a respective area of search and

 2 employs a different, predetermined heuristic algorithm corresponding to said respective

 3
     area to search the area for information that corresponds to the received information
 4
     descriptor:   MetaCrawler disclosed that each Module searched an associated search engine.
 5
     Those search engines, in turn, search their own internal index.   Therefore, each search module in
 6
     the MetaCrawler Softbot searches a corresponding area of search. MetaCrawler further disclosed
 7

 8 that each search engine used a different ranking algorithm, and returned different documents for

 9 the same query, in essence each search engine employed different heuristics:

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15
     MetaCrawler at 2.
16

17          To the extent that Dr. Polish‘s interpretation of ―heuristic algorithm‖ includes any of the

18 algorithms used in the applications modules on the Galaxy Nexus, it is necessarily broad enough
19 to include the algorithms that were used in the various search engines identified in MetaCrawler.

20
            180.    The search areas include storage media accessible by the apparatus:
21
     MetaCrawler discloses searching storage media accessible by the apparatus.      For example, each
22
     search engine‘s index is stored on storage media.      See, e.g., MetaCrawler at 6.
23

24          181.    A display module configured to display one or more candidate items of

25 information located by the plurality of heuristic modules on a display device.          MetaCrawler

26 inherently discloses a display module as it discloses returning the results of the query to the user.
27 See, e.g., MetaCrawler at 2.

28
                                                     -58-                    Case No. 12-CV-00630-LHK
                                                         EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                  CONCERNING U.S. PATENT NO. 8,086,604
      Case 5:12-cv-00630-LHK Document 117 Filed 04/23/12 Page 61 of 61




 1              182.     The apparatus of claim 6, wherein the interface module is configured to

 2 receive portions of the information descriptor as the portions are being inputted:

 3
     MetaCrawler disclosed an interface module that allowed users to input searches then refine their
 4
     query with various choices. MetaCrawler at 5-6.
 5
                183.     And wherein the heuristic modules are configured to search for information
 6
     that corresponds to the portions of the information descriptor as the portions are being
 7

 8 received.           Incorporating incremental search functionality in the invention described in Neal

 9 would have been obvious to a person of ordinary skill in the art in 2000. As discussed above,

10 incremental searching was well known, including in MIT‘s EMACs work, WordPerfect 5.2, and

11
     patents such as Siitonen. A person of ordinary skill in the art in 2000 would have combined the
12
     disclosures of MetaCrawler with known techniques for incremental search to achieve predictable
13
     results.
14

15              184.     It would have been obvious to one of ordinary skill in the art at the time of

16 invention to include in MetaCrawler a method of displaying incremental search results or real-time

17 search results as the user types his or her query.        Such a modification would provide user
18 instantaneous feedback as to whether his or her query is correct.
19

20
                I declare under penalty of perjury that the foregoing is true and correct.
21

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26 Dated: ___23 April 2012
                                                                       Jaime G. Carbonell
27

28
                                                          -59-                  Case No. 12-CV-00630-LHK
                                                            EXPERT DECLARATION OF DR. JAIME CARBONELL
                                                                     CONCERNING U.S. PATENT NO. 8,086,604
